           Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 1 of 13 PageID# 1
AO 106(Rev, 04/10) Application for a Search Warrant
                                                                                                         P

                                      United States District Court
                                                                                                                      JUN - 4 2019       J
                                                                    for the

                                                         Eastem District of Virginia                         CLERK, U,S. DISTRICT COURT
                                                                                                                ALEXANDRIA, VIRGINIA

              In the Matter ofthe Search of
         (Briefly describe the property to be searched
          or identify the person by name and address)                           Case No. 1:19-SW-850
        Two United States Postal Service Parcels.
         See Attachment A for tracking numbers.



                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give.its iocatipn):       ,. ,
 See Attacnmeni A tDescnption ofParcels to be Searched).


located in the              Eastern               District of            Virginia             ,there is now concealed (identify the
person or describe the property to be seized)'.
 See Attachment B (Description of Items to be Seized).


          The basis for the search under Fed. R. Grim. P. 41(c) is (check one or more):
                ivfevidence ofa crime;
                sT contraband,fruits of crime, or other items illegally possessed;
                sTproperty designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

              Code Section                                                       Offense Description
        21 use § 843(b)                            Use of a eommunication Facility to Transport eontrolled Substances; and
        21 use § 841(a)(1)                         Possession with Intent to Distribute a eontrolled Substance.


          The application is based on these facts:
        See attached affidavit.



          □ Continued on the attached sheet.
          □ Delayed notice of        days (give exact ending date if more than 30 days;                                 ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on tbaattached sheet.



                                                                                              [pplicant's signature
SAUSA Anthony Maiiano/AUSA William Fitzpatrick
                                                                                             nd, United States Postal Inspector
                                                                                             Printed name and title


Sworn to before me and signed in my presence.


Date:     H             ^ M

City and state; Alexandria, Virginia                                                jlCI               /s/
                                                                                               Ivan D. Davis
                                                                                       United States Magistrate Judge
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 2 of 13 PageID# 2
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 3 of 13 PageID# 3
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 4 of 13 PageID# 4
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 5 of 13 PageID# 5
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 6 of 13 PageID# 6
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 7 of 13 PageID# 7
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 8 of 13 PageID# 8
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 9 of 13 PageID# 9
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 10 of 13 PageID# 10
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 11 of 13 PageID# 11
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 12 of 13 PageID# 12
Case 1:19-sw-00850-IDD Document 1 Filed 06/04/19 Page 13 of 13 PageID# 13
